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                  IN THE UNITED STATES COURT OF APPEALS

                          FOR THE ELEVENTH CIRCUIT

                            _________________________

                                 No. 20-14480-RR
                            _________________________

CORECO JA'QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,
GLORIA KAY GODWIN,
JAMES KENNETH CARROLL,
CAROLYN HALL FISHER,
CATHLEEN ALSTON LATHAM,
BRIAN JAY VAN GUNDY,

                                                  Plaintiffs – Appellants – Cross-Appellees,

                                         versus

GOVERNOR OF THE STATE OF GEORGIA,
in his official capacity,
SECRETARY OF STATE FOR THE STATE OF GEORGIA,
in his official capacity as Secretary of State and
Chair of the Georgia State Election Board,
DAVID J. WORLEY,
in his official capacity as a member of the Georgia
State Election Board,
REBECCA N. SULLIVAN,
in her official capacity as a member of the Georgia
State Election Board,
MATTHEW MASHBURN,
in his official capacity as a member of the Georgia
State Election Board,
ANH LE,
in her official capacity as a member of the Georgia
State Election Board,

                                           Defendants – Appellees – Cross-Appellants.
                           __________________________

                            On Appeal from the United States
                   District Court for the Northern District of Georgia
                            __________________________
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ORDER:

    “Appellees’ Emergency Motion to Expedite Cross-Appeal and Consolidate Briefing” is

GRANTED.




                                                                      DAVID J. SMITH
                                                      Clerk of the United States Court of
                                                        Appeals for the Eleventh Circuit

                                       ENTERED FOR THE COURT – BY DIRECTION
